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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

  E.I. DU PONT DE NEMOURS AND                      )
  COMPANY,                                         )
                                                   )
                          Plaintiff,               )
                                                   )
                  v.                               ) C.A. No. 11-773 (SLR) (CJB)
                                                   )
  HERAEUS PRECIOUS METALS NORTH                    )
  AMERICA CONSHOHOCKEN LLC,                        )
                                                   )
                          Defendant.               )

                                       JOINT MOTION TO DISMISS

          WHEREAS, Plaintiff E.I. DuPont de Nemours and Company (“Plaintiff”) and

  Defendant Heraeus Precious Metals North America Conshohocken LLC (“Defendant”) have

  settled Plaintiff’s claims for relief against Defendant and Defendant’s counterclaims for relief

  against Plaintiff asserted in this case.

          NOW, THEREFORE, Plaintiff and Defendant, through their attorneys of record,

  request this Court to dismiss Plaintiff’s claims for relief against Defendant with prejudice and

  to dismiss Defendant’s counterclaims for relief against Plaintiff without prejudice as moot

  and with all attorneys’ fees, costs of court and expenses borne by the party incurring same and

  to enter an order in the form attached hereto effectuating the same.
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  October 28, 2013
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